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                    IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                           PLAINTIFF

V.                               NO. 4:12CR00170-001 SWW

CHRISTOPHER ARNOLD HOGAN                                                           DEFENDANT

                                              ORDER

       Pending before the Court is defendant’s pro se motion for early termination of supervised

release previously imposed. The government has filed a response objecting to the early termination

of supervised release. The defendant filed a reply to the government’s response. The U. S.

Probation Office has advised the Court that the defendant has not demonstrated overall progress in

meeting supervision objectives.        The defendant tested positive for amphetamine and

methamphetamine on December 17, 2015. Furthermore, the defendant is not eligible for early

termination based on the criteria listed in the Supervision Monograph 109.

       The Court has considered the defendant’s motion, government’s response, defendant’s reply

and the information provided by the U.S. Probation Officer and finds that defendant’s motion

should be denied at this time.

       IT IS THEREFORE ORDERED that defendant’s motion for early termination of supervised

release [doc #275] previously imposed be, and it is hereby, DENIED.

       Dated this 26th day of January 2016.

                                                    /s/Susan Webber Wright
                                                    United States District Judge
